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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA,

        Plaintiff(s)
                                            CRIMINAL NO. 03-083 (JAG)
             v.

[1] JOSE J. GALIANY-CRUZ,
[12] JUAN CARRION-TORRES,

        Defendant(s)




                           MEMORANDUM AND ORDER


     On March 17, 2004, a jury convicted defendants Jose J. Galiany-

Cruz (“Galiany-Cruz”) and Juan Carrion-Torres (“Carrion-Torres”) on

charges of conspiring to possess with the intent to distribute

heroin, marijuana and cocaine, and of aiding and abetting one

another in furtherance of said drug trafficking crimes.                   (See

Indictment, Docket No. 2, and Jury Verdicts, Docket Nos. 326 and

327).    Additionally, they were convicted of possessing and using

firearms and of killing Alexander Rivera-Maldonado on March 16, 2001

in furtherance of the conspiracy. (See Id.).         Galiany-Cruz was also

convicted for the murder of Alexis J. Torres and Yamil H. Santiago-

Rodriguez (“Yamil”), among other crimes. (See Id.).

     On August 16, 2006, Carrion-Torres moved for a new trial

pursuant to Fed.R.Crim.P. 33 due to Government’s non-disclosure of
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  exculpatory evidence.       (Docket No. 670-1).         On August 30, 2006,

  Galiany-Cruz filed a motion for joinder of Carrion-Torres’s motion

  for new trial (Docket No. 673) and on September 13, 2006, he filed

  a supplement to the motion for new trial based on Brady v. Maryland,

  373 U.S. 83 (1963), and Sixth Amendment violations (Docket No. 678).

  On October 25, 2006, the Government filed its opposition to all of

  the aforementioned motions. (Docket No. 684-1).                On November 17,

  2006, Carrion-Torres replied to the Government’s opposition (Docket

  No. 687) and on November 19, 2006, Galiany-Cruz filed his reply

  (Docket No. 688). For the reasons discussed below, the Court DENIES

  defendants’ motions for new trial.

  A. Standard for new trial based on newly discovered evidence within

  Brady

       Pursuant to Fed.R.Crim.P.33(a), “[u]pon the defendant’s motion,

  the Court may vacate any judgment and grant a new trial if the

  interest of justice so requires.” If grounded on newly discovered

  evidence, the defendant may bring his motion for a new trial within

  three     (3)   years   after   the     verdict   or    finding      of     guilty.

  Fed.R.Crim.P. 33(b)(1).

       Brady requires the Government to disclose exculpatory evidence

  which is “material either to guilt or to punishment.” Brady, 373

  U.S. at 87.      A petitioner must show, in order to establish a Brady

  violation, that: (1) the evidence at issue is favorable to him

  because    it   is   exculpatory   or    impeaching;     (2)   the    Government
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  suppressed    the    evidence;      and    (3)     prejudice       ensued       from    the

  suppression (i.e., the suppressed evidence was material to guilt or

  punishment). Strickler v. Greene, 527 U.S. 263, 281-82 (1999).

        Under First Circuit Standards, for a district court to grant a

  new trial based on newly discovered evidence that was subject to

  disclosure under Brady, the defendant must demonstrate “both that

  the   evidence      is   material    and    that       there      is       a   ‘reasonable

  probability’ that it would produce an acquittal upon retrial.”

  United States v. Wall, 349 F.3d 18, 22 (1st Cir. 2003) (citing

  United States v. Josleyn, 206 F.3d 144, 151 (1st Cir. 2000)).                          It is

  not enough for the defendant to show “the mere possibility that an

  item of undisclosed information might have helped [his] defense, or

  might have affected the outcome of the trial.” United States v.

  Hansen, 434 F.3d 92, 102 (1st Cir. 2006) (citing United States v.

  Garcia-Torres, 341 F.3d 61, 70 (1st Cir. 2003) (quotations and

  citations omitted)). A defendant must show that the evidence is of

  such probative value that there is a reasonable probability it would

  produce a different result. Id.

        For   newly    discovered     evidence      to   warrant         a   retrial     in   a

  criminal case, the existence of the required probability of reversal

  must be gauged by an objectively reasonable appraisal of the record

  as a whole, not on the basis of wishful thinking, rank conjecture,

  or unsupportable surmise.         United States v. Natanel, 938 F. 2d 302,

  313 (1st Cir. 1991).       The petitioner must show, among other things,
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  that the new evidence is material and is not merely cumulative or

  impeaching.     United States v. Benavente-Gomez, 921 F. 2d 378, 382

  (1st Cir. 1990).

       Although impeachment evidence and exculpatory evidence can

  provide grounds for a new trial, impeachment evidence only merits a

  new trial when “the evidence is highly impeaching or when the

  witness’     testimony     is   uncorroborated    and       essential       to    the

  conviction.” Garcia-Torres, 341 F.3d at 70 (citing U.S. v. Martinez-

  Medina, 279 F.3d 105, 126 (1st Cir. 2002)).             If it does not bear

  directly on the defendant’s guilt or innocence, impeachment evidence

  does not rise to the level of materiality that would be likely to

  cause a different result at a new trial.         Benavente-Gómez, 921 F. 2d

  at 383; Barrett v. United States, 965 F. 2d 1184, 1195 (1st Cir.

  1992). Suppressed impeachment evidence is immaterial under Brady if

  the evidence is cumulative or impeaches on a collateral issue.

  Conley v. United States, 415 F.3d 183, 189 (1st Cir. 2005); United

  States v. Dumas, 207 F.3d 11, 16 (1st Cir. 2000).                   Exculpatory

  evidence     requires    that   the   evidence   be   material      and      “[t]he

  materiality standard is not met by ‘the mere possibility that an

  item of undisclosed information might have helped the defense, or

  might have affected the outcome of the trial.’” Garcia-Torres, 341

  F.3d at 70 (quoting United States v. Hamilton, 107 F.3d 499, 509

  (7th Cir. 1997); United States v. Agurs, 427 U.S. 97, 109-10

  (1976)).   Ultimately, “[t]he question is not whether the defendant
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  would more likely than not have received a different verdict with

  the evidence, but whether in its absence he received a fair trial,

  understood as a trial resulting in a verdict worthy of confidence.”

  Strickler, 527 U.S. at 289-90 (quoting Kyles v. Whitley, 514 U.S.

  419, 434 (1995)).    The due process duty imposed by Brady is meant to

  protect defendant’s right to a fair trial.           United States v. Ruiz,

  536 U.S. 622, 626-28 (2002).

  B. Arguments by Defendants and the Government

       In his motion for new trial, Carrion-Torres alleges that the

  Government violated Brady because it failed to disclose exculpatory

  evidence.    Carrion-Torres argues that two Drug Enforcement Agency

  (“DEA”) Reports that would have allegedly led to the testimony of

  several confidential sources to the effect that Carrion-Torres was

  “actively at war” with Galiany-Cruz were never handed over to the

  defense. He sustains that the information contained in said reports

  would have confirmed his allegation that he was not a member of

  Galiany-Cruz’s criminal organization and consequently, could not

  form part of the charged conspiracy.         Specifically, one of the DEA

  Reports would show, according to Carrion-Torres, that instead of an

  alliance, there was a war between him and Galiany-Cruz since October

  2001 and the other DEA Report would confirm that said war continued

  as of March 2002.          The Government’s failure to disclose these

  reports, argues the defendant, was “clearly prejudicial” because it

  did not allow the defense to present an alternative theory: that
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  Carrion-Torres and Galiany-Cruz were enemies by October 2001 and

  could therefore not be part of the same conspiracy.

       In   addition,    defendant   Carrion-Torres          contends   that   the

  suppressed evidence would have been essential to refute testimony by

  Carlos Ivan Torres-Martinez (“Torres-Martinez”) and Carlos Bonilla

  Santos (“Bonilla”) that served to suggest a former alliance between

  Carrion-Torres   and   Galiany-Cruz.       Specifically,        Carrion-Torres

  contends that the evidence would refute testimony given by Torres-

  Martinez about Carrion-Torres and Galiany-Cruz being together in

  March 2001, about Galiany-Cruz ordering the murder of Yamil in

  October/November 2001 to protect Carrion-Torres, and about the break

  up of their alliance.      He also contends that Bonilla’s testimony

  about the two being together in a car and lending weapons to one

  another would have been refuted by the new evidence.

       In his motion for new trial, Galiany-Cruz joins in Carrion-

  Torres’s arguments and further alleges that the Government failed to

  disclose that co-defendant Julio Mateo-Espada (“Mateo-Espada”) was

  in New York at the time of Yamil’s murder in October/November 2001.

  This information, according to Galiany-Cruz, would have undermined

  Torres-Martinez’s testimony as to Mateo-Espada being present when

  Galiany-Cruz gave instructions to kill Yamil.                Additionally, he

  argues that the Government failed to disclose several DEA Reports of

  Investigation as well as a Federal Bureau of Investigation (“FBI”)

  Report which allegedly point to the responsibility of individuals
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  other than him in the killing of Yamil and would have therefore

  impeached Torres-Martinez’s testimony at trial.                 Galiany-Cruz also

  asks the Court to take notice of proceedings held before state court

  according to which a sworn statement by a police officer revealed

  that the gun used to kill Yamil belonged to someone other than him

  and in which testimony was given that Galiany-Cruz asked someone

  other than Torres-Martinez to murder Yamil.               These statements are

  allegedly    in    direct    contradiction       with    what     Torres-Martinez

  testified at the trial: that Galiany-Cruz asked him to murder Yamil

  and that his gun was used in the murder.

       The Government filed an opposition to the defendants’ motions

  for new trial arguing that the newly discovered evidence does not

  amount to exculpatory or impeachment evidence sufficient to change

  the end result of the trial.           Specifically, the Government contends

  that evidence to the effect that Galiany-Cruz and Carrion-Torres

  were at war with each other does not exculpate the defendants “from

  having been involved in a narcotics trafficking conspiracy and of

  having   engaged    in     acts   of    violence    in   furtherance       of   such

  conspiracy.” Therefore, the evidence would change nothing about the

  final outcome of the case.        The same argument is made regarding the

  DEA Reports that are claimed to be newly discovered: that their

  presentation to the jury would have not changed the outcome of the

  trial, even if believed by the jury.               With respect to defendant

  Galiany-Cruz’s     allegation     regarding     co-defendant       Mateo-Espada’s
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  whereabouts at the time of Yamil’s murder, the Government contends

  that Galiany-Cruz’s averment is factually incorrect and that Mateo-

  Espada could have very well been in Puerto Rico at that time.

       Carrion-Torres replied to the Government’s opposition arguing

  that the suppressed evidence does indeed undermine the verdict

  because it frustrates the theory that Carrion-Torres was a member of

  the charged conspiracy (with Galiany-Cruz) although it does not

  necessarily negate the possibility that Carrion-Torres was involved

  in a conspiracy to sell narcotics.        Being that the Government has

  the burden of proving that he participated in the conspiracy charged

  in the indictment, Carrion-Torres argues, evidence that would have

  contradicted “important and necessary elements of the Government’s

  case” would have changed the outcome of the trial.               Galiany-Cruz

  also filed a reply arguing that because the Government violated his

  6th Amendment and Brady rights, he did not have the opportunity to

  effectively litigate a proper defense.

  C. Discussion

       This Court finds that the defendants have not met their burden

  in proving that they have a right to a new trial under Rule 33.

  Even if certain evidence was not made available to the defendants at

  the time of trial, the withheld evidence is not material and an

  acquittal would not probably result upon retrial of the defendant.

       The Court has reviewed the DEA Reports allegedly withheld by

  the prosecution and containing the information that purportedly
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  calls for a new trial.     First, the information contained therein is

  cumulative evidence as to a war existing between the defendants,

  since it echoes testimony given by Torres-Martinez and Bonilla.

  Evidence of the feud between Carrion-Torres and Galiany-Cruz was

  presented at trial when Bonilla testified that Torres-Martinez had

  told him that Carrion-Torres was out to kill Galiany-Cruz (See

  Excerpt 3/10/04, p. 55), and when Torres-Martinez testified that

  Carrion-Torres was no longer with Galiany-Cruz by March 2002 (See

  Excerpt 3/12/04, p.3-7).       So, evidence to the effect that Carrion-

  Torres and Galiany-Cruz were enemies at one point was presented to

  the jury.    The only new element is the moment in time in which the

  feud began, since defendants allege it was at least as of October

  2001 and the evidence presented points to a later development. Yet,

  even   if    the   allegedly    suppressed    evidence     constituted    new

  information that could prove that Galiany-Cruz and Carrion-Torres

  were rivals since as early as October 2001, it does not amount to

  exculpatory because, contrary to the defendants’ allegations, it

  does not undermine the jury’s finding that a conspiracy occurred

  between the two.     The jury in this case concluded that these men

  conspired to distribute drugs, in spite of having been presented

  evidence that pointed to a feud between Carrion-Torres and Galiany-

  Cruz at least by March 2002.      The new evidence would only alter the

  possible start date of the feud but even if believed by the jury, it

  does not exculpate defendants from their illegal actions. Moreover,
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  and contrary to defendants’ assumption, this Court does not believe

  it to be impossible for gang members that were rivals at one point

  to conspire with one another, before or after their rivalry, in

  order to benefit from drug-trafficking activities. In any case, the

  evidence presented against the defendants in this case was plentiful

  and compelling. (See United States v. Gonzales, 121 F.3d 928 (5th

  Cir. 1997), where the court concluded that the Government’s alleged

  suppression of a coconspirator’s statement that he did not believe

  that the defendant had been involved in the drug conspiracy of which

  he was convicted was harmless because not only had other witnesses

  testified that the defendant was not a member of the conspiracy but

  also, the evidence against the defendant was overwhelming.)

       The Defendants also argue that the contents of the DEA Reports

  would undermine the jury’s verdict because they would impeach

  Torres-Martinez’s testimony.      In doing so, they sustain that “[t]he

  verdict... was based almost entirely on the testimony of cooperating

  defendant Torres Martinez.” (See Docket No. 670-1 at 12).             Based on

  this assumption, they argue that any evidence to undermine the

  jury’s confidence in said testimony is enough to warrant new trial.

  Yet, the evidence in the DEA Reports does not impeach Torres-

  Martinez’s testimony in a way that touches upon the defendants’

  guilt or innocence.       Defendants allege that the DEA Reports would

  impeach the following testimony by Torres-Martinez: that Carrion-

  Torres used to do everything Galiany-Cruz asked of him (See Excerpt
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  3/12/04, p.6-7); that the dispute between Galiany-Cruz and Carrion-

  Torres started     in   2002;   that   in    April    2001,   Galiany-Cruz     and

  Carrion-Torres attempted to take control of the drug point in Las

  Palmas (See Excerpt 3/11/04, p. 39-40); that Carrion-Torres and

  Galiany-Cruz were together in March 2001 (See Excerpt 3/11/04, p.

  23-26); that in October/November 2001 Galiany-Cruz ordered the

  murder of Yamil to protect Carrion-Torres (See Excerpt 3/11/04, p.

  62; Excerpt 3/12/04, p.88-89); that Mateo-Espada participated in

  that murder; and that Carrion-Torres participated in the March 2001

  murder. The evidence that would impeach Torres-Martinez’s testimony

  amounts to the following: that by October 2001, Galiany-Cruz had

  tried to take over Carrion-Torres’s drug points and a war started

  between them; that two weeks before March 11, 2002, Carrion-Torres

  shot at Galiany-Cruz’s car; that by March 11, 2002 Carrion-Torres

  was an associate of the leader of the Last Palmas gang, which was

  allegedly at war with Galiany-Cruz; and that Mateo-Espada was in New

  York in October/November 2001.              This same evidence, defendants

  argue, would impeach Bonilla’s testimony that Galiany-Cruz and

  Carrion-Torres were together in a car in March 2001 (Excerpt 3/9/04,

  p. 10-13) and that Carrion-Torres lent a firearm to Galiany-Cruz in

  March 2002.

       Defendants’    arguments     do   not     prevail.        The   information

  contained in the DEA Reports falls short from being sufficiently

  impeaching as to warrant a new trial.                Even if it debilitates
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  testimony given at trial, is not highly impeaching.                 First, the

  testimony that the confidential sources would allegedly give is not

  specific in nature, whereas the testimony given by Torres-Martinez

  and Bonilla point to several specific incidents with a degree of

  detail from personal knowledge that corroborate that a conspiracy

  did indeed exist between Carrion-Torres and Galiany-Cruz and that

  they both engaged in acts of violence in furtherance of that

  conspiracy as of March 2002.       The Court consequently awards more

  credibility    to   Torres-Martinez’s     testimony.        Furthermore,     the

  impeachment evidence is immaterial because it does not bear directly

  on defendants’ guilt or innocence but on other matters.

       Regarding the issue of whether Mateo-Espada could have been in

  Puerto Rico at the time of Yamil’s murder, Galiany-Cruz and the

  Government take opposite sides.          Yet, the absence or presence of

  Mateo-Espada in Puerto Rico is not a fact that would sufficiently

  impeach Torres-Martinez’s testimony in a way that would give way to

  a new trial.    Even if, arguendo, Mateo-Espada was in New York at the

  time of Yamil’s murder, this fact does not impeach Torres-Martinez’s

  testimony as to Galiany-Cruz’s involvement in said murder.              It does

  not bear on the defendant’s guilt or innocence.            (See   United States

  v. Zuno-Arce, 44 F.3d 1420 (9th Cir. 1995), where the court found

  that there was no Brady violation where the Government failed to

  provide defendant with allegedly exculpatory evidence consisting of
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  a form that suggested that a codefendant was the only murderer

  whereas a Government witness testified that defendant was a party to

  murder.)    The Court also finds that the state proceedings Galiany-

  Cruz points to and the additional DEA Reports discovered in the

  other cases change nothing about his responsibility for Yamil’s

  murder.    Additionally, Galiany-Cruz cannot raise an issue regarding

  the FBI report since he himself admits that the Government had

  provided said report during the trial.

       The suppressed evidence, although it might have helped the

  defense, does not rise to the level of materiality that would be

  likely to    cause   a    different   result    at   a    new    trial   -      it   was

  cumulative or merely impeaching.           The jury in this case found that

  the defendants were involved in the drug-trafficking conspiracy

  charged in the indictment and this result would not likely be

  changed even if the suppressed evidence was introduced.

       In sum, although the undisclosed information might have helped

  the defense, viewed in the context of the entire record, the new

  evidence does not undermine the outcome of the defendants’ trial and

  would not have produced a different result.              Even in the absence of

  the evidence that was allegedly withheld, the defendants received a

  fair trial which resulted in a confidence-worthy verdict.                            The

  evidence presented sufficiently established that the defendants were

  part of the charged conspiracy and that they engaged in the violent

  crimes charged.      Accordingly, the defendants have not met their
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  burden in justifying their right to a new trial and their motions

  for new trial are hereby DENIED.

       IT IS SO ORDERED.

       In San Juan, Puerto Rico, this 21st day of December 2006.



                                           S/ Jay A. Garcia-Gregory
                                           JAY A. GARCIA-GREGORY
                                           U.S. DISTRICT JUDGE
